Case 2:04-CV-02638-SHI\/|-tmp Document 5 Filed 08/19/05 Page 1 of 2 Page|D 1

Fu£o BY _.,§3§1_ D.O-
IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 hug \9 m 6:5(]
WESTERN DIVISION

 

THG?!¢S if M{U\D
Plaintiff,
vS. NO. 04-2638~»Map

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is plaintiff’s August l6, 2004, Complaint
for review of a Social Security decision and motion to proceed in
forma pauperis. This matter is hereby referred to the United
States Magistrate Judge for a report and recommendation. Any
exceptions to the magistrate’s report shall he made within ten
(lO) days of her report, setting forth particularly those
portions of the order excepted to and the reasons for the

exceptions.

IT IS SO ORDERED this lg*£%wy‘©f AuguSt, 2004.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

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UNITSED`ATE DISTRICT C URT WESTERNDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02638 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

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Honorable Samuel Mays
US DISTRICT COURT

